                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )         Case No. 1:14-CR-42
v.                                                    )
                                                      )         JUDGE COLLIER
RONDA ANN LEONARD                                     )         MAGISTRATE JUDGE CARTER


                             REPORT AND RECOMMENDATION

       A December 4, 2014, letter from Mike Babcock, Warden of the Federal Bureau of

Prisons, Federal Detention Center in Houston, Texas was received by the undersigned Magistrate

Judge. Attached to the letter were an Evaluation of Competency and a Forensic Report. It is the

opinion of the examiner that “Defendant currently appears competent to proceed. With respect to

the issue of responsibility, the Defendant does not appear to suffer from a severe mental disease

or defect that would have impaired her ability to appreciate the nature, quality, or wrongfulness

of her behavior at the time of the offense.” (Doc. 50 at 19).

       A Notice of Waiver of Competency Hearing signed by defendant was filed on February

2, 2015 (Doc. 58). The Court therefore RECOMMENDS on the basis of the waiver and the

Reports that defendant be found competent to stand trial.1

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                                              UNITED STATES MAGISTRATE JUDGE




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        Any objections to this Report and Recommendation must be served and filed within
fourteen (14) days after service of a copy of this recommended disposition on the objecting
party. Such objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules
of Criminal Procedure. Failure to file objections within the time specified waives the right to
appeal the District Court's order. Thomas v. Arn, 474 U.S. 140, 88 L.Ed.2d 435, 106 S.Ct. 466
(1985). The district court need not provide de novo review where objections to this report and
recommendation are frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636 (6th Cir.
1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation
of Teachers, 829 F.2d 1370 (6th Cir. 1987).



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